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 CULPEPPER IP, LLLC
 Kerry S. Culpepper, Bar No. 9837
 75-170 Hualalai Road, Suite B204
 Kailua-Kona, Hawai’i 96740
 Telephone: (808) 464-4047
 Facsimile: (202) 204-5181
 E-Mail:     kculpepper@culpepperip.com

 Attorney for Plaintiffs

                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Fallen Productions, Inc., et al.       )   Case No.: 1:20-cv-33-JAO-RT
                                         )   (Copyright)
                    Plaintiffs,          )
     vs.                                 )   REQUEST FOR CLERK TO ENTER
                                         )   DEFAULT AGAINST DEFENDANT
  MICAL MESOT,                           )   MICAL MESOT; DECLARATION
                                         )   OF COUNSEL; PROPOSED
                    Defendant.           )   ORDER; CERTIFICATE OF
                                         )   SERVICE
                                         )
                                         )
                                         )

               REQUEST FOR CLERK TO ENTER DEFAULT AGAINST
                      DEFENDANT MICAL MESOT


 TO: CLERK OF THE ABOVE-ENTITLED COURT:

       Pursuant to Fed R. Civ. P. 55(a), Plaintiffs Fallen Productions, Inc., HB

 Production, Inc., Rambo V Productions, Inc. and Definition Delaware, LLC

 (“Plaintiffs”) hereby apply for entry of default by the Clerk of the Court against



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 Defendant Mical Mesot (“Defendant”). Defendant was personally served a copy of

 the Second Amended Complaint (“SAC”) on July 18, 2020. See Proof of Service

       Defendant’s responsive pleading to the SAC was due on or before August 10,

 2020 per Fed R. Civ. P. 15(a)(3). Defendant has failed to appear or otherwise

 defend.

       For these reasons, Plaintiff request that the Clerk of the Court enter default

 judgment on all claims plead in the FAC against Defendant Mical Mesot.

       DATED: Kailua-Kona, Hawaii, August 11, 2020.



                                CULPEPPER IP, LLLC


                                /s/ Kerry S. Culpepper
                                Kerry S. Culpepper

                                Attorney for Plaintiffs




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